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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

ISAAC HAYES ENTERPRISES, LLC,
THE ESTATE OF ISAAC HAYES



                    Plaintiffs,
                                                           JURY TRIAL
  v.                                                       DEMANDED
                                                           CASE NO:
DONALD JOHN TRUMP individually,                            1:24-cv-03639-TWT
DONALD J. TRUMP FOR PRESIDENT,
2024, INC., REPUBLICAN NATIONAL
COMMITTEE, TURNING POINT USA,
INC., NATIONAL RIFLE ASSOCIATION
OF AMERICA, AMERICAN
CONSERVATIVE UNION,
BTC INC,

            Defendants.



            PLAINTIFFS’ AMENDED BRIEF IN SUPPORT OF
       MOTION FOR AN EMERGENCY PRELIMINARY INJUNCTION

                                  INTRODUCTION

       The iconic Isaac Lee Hayes Jr. (hereinafter “Hayes”) was an American

 singer, songwriter, composer, and actor. He was a pillar behind the Southern soul

 music label Stax Records, serving as both an in-house songwriter and as a

 session musician and record producer. Sam & Dave released the record “Hold

 On, I'm Comin'" (officially registered as "Hold On, I'm Coming") (hereinafter the

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“Copyrighted Work”) in 1966 with widespread success. The Copyrighted Work

was co-written by Hayes. At the time of its release, the Copyrighted Work

peaked at number one on the Billboard Hot R&B singles chart and at number 21

on the Billboard Hot 100. At the time of the Copyrighted Work’s release, Hayes

and co-writer David Porter were the owners of all right, title, and interest in and

to the song, including the copyright therein, which was originally registered on

March 3, 1968, with the United States Copyright Office under Registration

Number EP0000246262, and renewed under Registration Number

RE0000734375 on January 11, 1996 (A copy of the Registration for the

Copyrighted Work from the United States Copyright Office is attached hereto as

Exhibit A). Hayes passed away in 2008, leaving his copyright interest to his

Estate, administered by his family.

                            FACTUAL BACKGROUND

      Plaintiff Hayes Enterprises, LLC, is the current owner of right, title, and

interest in and to the Song “Hold On, I’m Coming” (hereinafter “Copyrighted

Work”) including the copyrights therein, which was assigned to Plaintiff with the

United States Copyright Office under Document Number V15024D259, (A copy of

the Document recording the Assignment for the Copyrighted Work from the United

States Copyright Office is attached hereto as Exhibit A). Plaintiff Hayes Enterprises,

LLC, owns two live and one pending mark registrations for the name “Isaac Hayes”

at the United States Patent and Trademark Office.
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      Mr. Trump and the Trump Campaign (“Trump Campaign”) has unlawfully

publicly performed the Copyrighted Work at all rallies and public appearances

starting in 2020. A cease-and-desist letter was sent that year to the Trump campaign

by non-parties Universal Music Group and Warner Chappell Music, who are lawful

publishers of Plaintiff’s Copyrighted Work. Despite the cease-and-desist letter, Mr.

Trump and the Trump Campaign have unlawfully used the Copyrighted Work in

violation of several provisions of Title 17 U.S.C., including § 501, of the Copyright

Act of 1976, as amended, over one hundred times since 2020. (A non-exhaustive list

is attached hereto as Exhibit E.) Specifically, and ironically, Trump has spent a

lifetime and well over 60 years protecting, expanding and building the Trump name

goodwill and brand that his father left him, but refuses to honor, respect and pay for

the name, brand, goodwill, intellectual property and business that was left to the

Hayes family by their father.

      For example, Trump Campaign events have been recorded and uploaded on to

social media and video sharing sites, including but not limited to: YouTube, Rumble,

Facebook, and Instagram. The aforementioned recordings of Trump Campaign

events also recorded the unlawful public performance of the Copyrighted Work over

one hundred times. Defendants Mr. Trump and/or the Trump Campaign made no

material effort to contact the Plaintiffs to pursue a license to use the Copyrighted

Work until August 7, 2024. Defendants’ most recent unlawful public performance


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was on August 9, 2024, at a Trump Campaign rally in Bozeman, Montana. If the

Court does not grant the relief sought, the Plaintiffs will continue to suffer

irreparable injury, financial loss, intellectual property loss and a litany of damages

before final disposition of this action due to the Defendant’s constant violation of the

Plaintiffs’ Copyright and goodwill.

                                      ARGUMENT

        A preliminary injunction is granted in a copyright infringement case when the

movant establishes: "(1) a substantial likelihood of success on the merits of the

underlying case, (2) the movant will suffer irreparable harm in the absence of an

injunction, (3) the harm suffered by the movant in the absence of an injunction

would exceed the harm suffered by the opposing party if the injunction issued, and

(4) an injunction would not disserve the public interest." Johnson & Johnson Vision

Care, Inc. v. 1-800 Contacts, Inc., 299 F.3d 1242, 1246–47 (11th Cir. 2002).

   I.      Plaintiffs are Highly Likely to Succeed on the Merits of their Claim.

        To establish a prima facie case of copyright infringement, plaintiffs must show

(1) the plaintiffs’ ownership of or exclusive license for a valid copyright in the

copyrighted sound recording and (2) that Defendants copied protected elements of

that work. Strike 3 Holdings, LLC v. Doe, Civil Action No. 1:23-cv-02096-SDG,

2023 U.S. Dist. LEXIS 109354, at *4-5 (N.D. Ga. June 26, 2023) citing Oravec v.

Sunny Isles Luxury Ventures, L.C., 527 F.3d 1218, 1223 (11th Cir. 2008).
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         Here, Plaintiffs have a valid assigned interest in the Copyrighted Work. See

Exhibit A. This constitutes prima-facie evidence of copyright ownership pursuant to

17 U.S.C. § 410 (c); See Joelsongs v. Shelley Broad. Co., 491 F. Supp. 2d 1080,

1083 (M.D. Ala. 2007). Therefore, this prong is satisfied. The second prong is

satisfied, not only because Defendants “copied protected elements”, but because they

illegally publicly performed the Copyrighted Work fully in stadiums across the

United States at campaign rallies and speaking events, with over one hundred videos

documenting the illegal public performances across the Internet. Therefore, Plaintiffs

have a high likelihood of success of the merits of the underlying case.

   II.      An Irrepreable Harm Analysis Weighs Heavily in Plaintiff’s Favor

         “In the Northern District of Georgia, it has plainly been held that, ‘once a

copyright holder has made out a prima facie case of copyright infringement,

irreparable injury is presumed.’” Am. Family Life Ins. Co. v. Assurant, Inc., No.

1:05-CV-1462-BBM, 2006 U.S. Dist. LEXIS 8781, at *42 (N.D. Ga. Jan. 11, 2006)

citing Georgia Television Co. v. TV News Clips, Inc., 718 F. Supp. 939, 948 (N.D.

Ga. 1989) (noting that other Circuits agree that irreparable injury is presumed once

the copyright holder has proved ownership).

         Due to the substantial public evidence of the infringements, and the true and

attested ownership of the Copyrighted Work by Plaintiffs, irreparable harm is

presumed. Therefore, this prong is satisfied.

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   III.   Defendants will not be Disproportionately Harmed by an Injunction

       While Courts measure the harm an injunction might have on defendants’

activities, "copyright law . . . dictates that such injury merits little equitable

consideration and is insufficient to outweigh the continued wrongful infringement of

[Plaintiff’s] asserted legal rights." Am. Family Life Ins. Co. v. Assurant, Inc., No.

1:05-CV-1462-BBM, 2006 U.S. Dist. LEXIS 8781, at *56 (N.D. Ga. Jan. 11, 2006)

quoting Ga. TV Co. v. TV News Clips of Atlanta, Inc., 718 F. Supp. 939 (N.D. Ga.

1989).

       Here, the Copyrighted Work in question is an exceedingly famous and

profitable song called “Hold On I’m Coming.” The Copyrighted Work is exploited

by licensing the song and sound recording for movies, television shows, and covers

by other musical artists. In contrast, the only harm attributable to the Defendants is

that they will not be able to continue to infringe on Plaintiffs’ rights and ownership

of the Copyrighted Work and will have to find other music to publicly perform as

defendant Mr. Trump’s “exit” song at his rallies or appearances and fundraisers.

Defendants Mr. Trump and the Trump Campaign will still be able to sell tickets to

rallies and engage in speaking engagements following an injunction. Defendants

RNC, Turning Point, ACU, NRA, BTC, will all face no real commercial injury once

the infringing videos of their events are removed, so the equity analysis weighs

heavily in favor of Plaintiffs. Therefore, this prong is satisfied.

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   IV.   The Public Interest is in Favor of Protecting the Rights of the

         Plaintiffs.

      The Plaintiffs’ Copyrighted Work is one of the most iconic and successful

songs of the last century. It has been licensed, sampled, and covered by hundreds of

parties. Defendants have demonstrated callous disregard for the rights of Plaintiffs by

continuing to illegally publicly perform the Copyrighted Work at Campaign events

and speaking engagements and uploading those events onto the Internet as videos

that have been seen millions of times. As a result of this vast and public

infringement, “there is seldom any question of whether the entry of an injunction will

serve the public interest." Id quoting Ga. TV Co., 718 F. Supp. at 950.




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                                 CONCLUSION

      WHEREFORE, the Plaintiffs respectfully requests that the Court enter

a preliminary injunction enjoining all defendants from engaging in the conduct

specified above.

       Respectfully submitted this 21 day of August 2024.

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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of L.R. 5.1, using font type of Times

New Roman and a point size of 14.

      This 21 day of August, 2024.

                                             /s/James L. Walker, Jr.
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